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                           UNITED STATES BANKRUPTCY COURT
                   SOUTHERN DISTRICT OF ILLINOIS (EAST ST LOUIS)

 IN RE:
  MATTHEW BRANDON BOHNENSTIEHL                          Case No. 21-30123-lkg
  AKA MATTHEW B BOHNENSTIEHL
  AKA MATTHEW BOHNENSTIEHL                              Chapter 13
  AKA MATT BOHNENSTIEHL
                                                        Judge Laura K. Grandy
                                            Debtor,
  U.S. BANK NATIONAL ASSOCIATION

                                           Movant,

  MATTHEW BRANDON BOHNENSTIEHL
  AKA MATTHEW B BOHNENSTIEHL
  AKA MATTHEW BOHNENSTIEHL
  AKA MATT BOHNENSTIEHL, DEBTOR,
  RUSSELL C SIMON, CHAPTER 13
  TRUSTEE,

                                      Respondents.

    NOTICE OF MOTION FOR RELIEF FROM AUTOMATIC STAY, PROVISION
 DIRECTING RESPONSE THERETO, AND SETTING HEARING ON OBJECTIONS, IF
                                ANY

TO:   Russell C Simon, Chapter 13 Trustee, 24 Bronze Pointe, Swansea, IL 62226 by electronic notice
      through ECF
      Matthew Brandon Bohnenstiehl aka Matthew B Bohnenstiehl aka Matthew Bohnenstiehl aka Matt
      Bohnenstiehl, Debtor, 607 W. Washington St, O Fallon, IL 62269
      Jerry D Graham, Jr, Attorney for Debtor, JD Graham PC, 1 Eagle Center, Suite 3A, O'Fallon, IL
      62269 by electronic notice through ECF
      United States Trustee, Becker Bldg, Room 1100, 401 Main St., Peoria, IL 61602 by electronic notice
      through ECF


        The above-captioned persons shall take notice that a motion or other request to lift the
 automatic stay in the above-captioned bankruptcy has been electronically transmitted on May 31,
 2022, to the U.S. Bankruptcy Court for the Southern District of Illinois, Melvin Price Federal
 Building, 750 Missouri Avenue, East St. Louis, IL 62201. A copy is attached hereto.

        Any objection to the attached motion must be filed with the Court on or before the 14th of
 June, 2022, with a copy forwarded to moving counsel, Codilis & Associates, P.C., 15W030
 North Frontage Road, Suite 100, Burr Ridge, IL 60527.

        If no objections to the relief sought are timely filed, the Court will enter an Order
 granting the motion.
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         In the event an objection is filed, a preliminary hearing on the motion will be held before
the Court at 9:00am on June 21, 2022, at U.S. Bankruptcy Court for the Southern District of
Illinois, Melvin Price Federal Building, 750 Missouri Avenue, East St. Louis, IL 62201.

                                                         /s/ Joel P. Fonferko
                                                         Attorney for Creditor
Berton J. Maley ARDC#6209399
Rachael A. Stokas ARDC#6276349
Peter C. Bastianen ARDC#6244346
Joel P. Fonferko ARDC#6276490
Brenda Ann Likavec ARDC#6330036
MaryAnn G. Black #59899MO
Codilis & Associates, P.C.
15W030 North Frontage Road, Suite 100
Burr Ridge, IL 60527
(630) 794-5300

NOTE: This law firm is a debt collector.
